Case 4:02-cr-10011-JLK Document 47 Entered on FLSD Docket 08/28/2002 Page 1 of 6
Case 4:02-cr-10011-JLK Document 47 Entered on FLSD Docket 08/28/2002 Page 2 of 6
Case 4:02-cr-10011-JLK Document 47 Entered on FLSD Docket 08/28/2002 Page 3 of 6
Case 4:02-cr-10011-JLK Document 47 Entered on FLSD Docket 08/28/2002 Page 4 of 6
Case 4:02-cr-10011-JLK Document 47 Entered on FLSD Docket 08/28/2002 Page 5 of 6
Case 4:02-cr-10011-JLK Document 47 Entered on FLSD Docket 08/28/2002 Page 6 of 6
